               IN THE SUPREME COURT OF NORTH CAROLINA

                                  2021-NCSC-118

                                    No. 56PA20

                               Filed 29 October 2021

WILLIAM EVERETT COPELAND IV and CATHERINE ASHLEY F. COPELAND,
Co-Administrators of the ESTATE OF WILLIAM EVERETT COPELAND

              v.

AMWARD HOMES OF N.C., INC.; CRESCENT COMMUNITIES, LLC; and
CRESCENT HILLSBOROUGH, LLC



      On discretionary review pursuant to N.C.G.S. § 7A-31 of a unanimous decision

of the Court of Appeals, 269 N.C. App. 143, 837 S.E.2d 903 (2020), reversing and

remanding an order of summary judgment entered on 7 May 2018 by Judge W.

Osmond Smith III in Superior Court, Orange County. On 15 December 2020, the

Supreme Court allowed plaintiffs’ conditional petition for discretionary review. Heard

in the Supreme Court on 1 September 2021.


      Edwards Kirby, LLP, by William B. Bystrynski and David F. Kirby, and Holt
      Sherlin LLP, by C. Mark Holt and David L. Sherlin, for plaintiffs.

      Cranfill Sumner LLP, by Steven A. Bader and F. Marshall Wall, for defendants
      Crescent Communities, LLC, and Crescent Hillsborough, LLC.

      Pinto Coates Kyre &amp; Bowers, PLLC, by Jon Ward, and Erwin Byrd for Amicus
      Curiae North Carolina Advocates for Justice.

      Roberts &amp; Stevens, PA, by David C. Hawisher, for Amicus Curiae North
      Carolina Association of Defense Attorneys.


      PER CURIAM.
          COPELAND V. AMWARD HOMES OF N.C., INC.

                       2021-NCSC-118

                     Opinion of the Court




DISCRETIONARY REVIEW IMPROVIDENTLY ALLOWED.
